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 1 C. DABNEY O’RIORDAN (Cal. Bar No. 205158)
   ERIN E. SCHNEIDER (Cal. Bar No. 216114)
 2 schneidere@sec.gov
   JEREMY E. PENDREY (Cal. Bar No. 187075)
 3 pendreyj@sec.gov
   E. BARRETT ATWOOD (Cal. Bar No. 291181)
 4 atwoode@sec.gov
   ANDREW J. HEFTY (Cal. Bar No. 220450)
 5 heftya@sec.gov
   SECURITIES AND EXCHANGE COMMISSION
 6 44 Montgomery Street, Suite 2800
   San Francisco, CA 94104
 7 T: (415) 705-2500
   F: (415) 705-2501
 8
   ERIC M. BROOKS (Cal. Bar No. 209153)
 9 brookse@sec.gov
   SECURITIES AND EXCHANGE COMMISSION
10 33 Arch Street, 23rd Floor
   Boston, MA 02110-1424
11 (617) 573-8900

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                                   UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                       SAN FRANCISCO DIVISION
17

18 SECURITIES AND EXCHANGE COMMISSION,               Case No. 3:18-cv-05080-JST-DMR

19                 Plaintiff,                        STIPULATION TO MODIFY
                                                     SCHEDULING ORDER AND
20          vs.                                      [PROPOSED] ORDER

21 MICHAEL B. ROTHENBERG, and                        Honorable Jon S. Tigar
   ROTHENBERG VENTURES LLC (f/k/a                    Honorable Donna M. Ryu
22 FRONTIER TECHNOLOGY VENTURE CAPITAL
   LLC and ROTHENBERG VENTURES                       HEARING: August 29, 2019
23 MANAGEMENT COMPANY, LLC),                         at 2:00 p.m., Courtroom 9,
                                                     19th Floor, 450 Golden Gate
24                 Defendants.                       Avenue, San Francisco, CA

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     STIPULATION TO MODIFY SCHEDULING ORDER                            SEC V. ROTHENBERG, ET AL.
                                                                CASE NO. 3:18-CV-05080-JST-DMR
            Case 3:18-cv-05080-JST Document 48 Filed 02/05/19 Page 2 of 5


 1          WHEREAS, pursuant to the Court’s Scheduling Order (ECF No. 30) (“Scheduling Order”), the

 2   parties are to complete fact discovery by April 1, 2019, exchange expert disclosures on April 23, 2019,

 3   and complete expert discovery by June 3, 2019, and Plaintiff Securities and Exchange Commission (the

 4   “SEC”) is to file its motion to determine amounts of disgorgement and civil monetary penalties due

 5   (“SEC’s Motion”) by July 1, 2019;

 6          WHEREAS, pursuant to the Scheduling Order, the hearing on the SEC’s Motion is set for

 7   August 29, 2019, at 2:00 p.m.;

 8          WHEREAS, pursuant to the Court’s Settlement Conference Order (ECF No. 41) (“Settlement

 9   Conference Order”), the parties are required to attend an in-person Settlement Conference on June 14,

10   2019, at 11:00 a.m. before Magistrate Judge Ryu, and also have a settlement conference call on February

11   21, 2019 (ECF No. 40);

12          WHEREAS, on January 17, 2019, the parties stipulated and jointly requested the Court to

13   temporarily stay the case because counsel for Defendants, Marc Fagel, is retiring and Defendants are

14   seeking new counsel, and the SEC was shut down as of December 27, 2018, due to a lapse in

15   appropriations;

16          WHEREAS, the Court granted the parties’ request and entered an Order (ECF No. 44)

17   temporarily staying the case until the shutdown ended, at which time the parties were to meet and confer

18   to determine whether to propose a revised Civil Case Management Plan and Scheduling Order, and

19   whether to propose modifications to the Settlement Conference Order, within seven (7) days of the SEC

20   reopening;

21          WHEREAS, appropriations were enacted on January 25, 2019, and the SEC returned to normal

22   operations on January 28, 2019;

23          WHEREAS, counsel for Defendants, Marc Fagel, is retiring this month and Defendants are

24   continuing to look for new counsel;

25          ACCORDINGLY, it is HEREBY STIPULATED by and between the undersigned parties that

26   they respectfully request the Court to modify the Scheduling Order by extending the Scheduling Order

27   by 30 days or as otherwise noted below:

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     STIPULATION TO MODIFY SCHEDULING ORDER                                   SEC V. ROTHENBERG, ET AL.
                                                    1                  CASE NO. 3:18-CV-05080-JST-DMR
             Case 3:18-cv-05080-JST Document 48 Filed 02/05/19 Page 3 of 5


 1   Event                              Current Deadline                     Revised Deadline

 2   Fact discovery cut-off             April 1, 2019                        May 1, 2019
 3   Expert disclosures                 April 23, 2019                       May 23, 2019
 4   Expert discovery cut-off           June 3, 2019                         July 3, 2019
 5   SEC’s Motion                       July 1, 2019                         July 31, 2019
 6   Defendants’ opposition             July 22, 2019                        August 21, 2019
 7   SEC reply                          August 1, 2019 at 2:00 p.m.          September 4, 2019 at 2:00 p.m.
 8   Motion hearing                     August 29, 2019 at 2:00 p.m.         October 3, 2019 at 2:00 p.m.
 9           It is further STIPULATED by and between the undersigned parties that they respectfully request
10   the Court to vacate the Settlement Scheduling Order and conduct a telephonic scheduling conference on
11   February 21, 2019, at 11:00 a.m. before Magistrate Judge Ryu, to discuss dates for the Settlement
12   Conference and any related deadlines.
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14           IT IS SO STIPULATED.
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16   Dated: February 4, 2019                       Respectfully submitted,
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18                                                 /s/ E. Barrett Atwood
                                                   E. Barrett Atwood
19                                                 Andrew J. Hefty
                                                   Eric M. Brooks
20
                                                   Attorneys for Plaintiff
21                                                 SECURITIES AND EXCHANGE COMMISSION

22
                                                   /s/ Marc J. Fagel            _
23                                                 Marc J. Fagel
                                                   GIBSON, DUNN & CRUTCHER
24                                                 555 Mission Street, Suite 3000
                                                   San Francisco, CA 94105
25                                                 Attorney for Defendants
                                                   Michael B. Rothenberg and Rothenberg Ventures LLC
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     STIPULATION TO MODIFY SCHEDULING ORDER                                   SEC V. ROTHENBERG, ET AL.
                                                    2                  CASE NO. 3:18-CV-05080-JST-DMR
           Case 3:18-cv-05080-JST Document 48 Filed 02/05/19 Page 4 of 5


 1                                        [PROPOSED] ORDER

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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 4
     DATED:      February 5, 2019
 5                                                 Hon. Jon S. Tigar
 6                                                 UNITED STATES DISTRICT JUDGE

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     STIPULATION TO MODIFY SCHEDULING ORDER                         SEC V. ROTHENBERG, ET AL.
                                               3             CASE NO. 3:18-CV-05080-JST-DMR
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 1                                              ATTESTATION

 2          I, E. Barrett Atwood, am the ECF User whose identification and password are being used to

 3   file this Stipulation and Proposed Order. I hereby attest that each of the above parties or their

 4   representatives concurs in this filing.

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 6

 7   Dated: February 4, 2019                        /s/ E. Barrett Atwood
                                                   E. Barrett Atwood
 8                                                 Attorney for Plaintiff
                                                   SECURITIES AND EXCHANGE COMMISSION
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     STIPULATION TO MODIFY SCHEDULING ORDER                                   SEC V. ROTHENBERG, ET AL.
                                                     4                 CASE NO. 3:18-CV-05080-JST-DMR
